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                          EXHIBIT F.6
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 Gross Reservoir Expansion Project

 MEETING AGENDA & MINUTES

  Meeting Title:     Boulder County Floodplain       Date/Time:           02/08/2021 11 a.m.
                     Program and Denver Water
                     Coordination Meeting
  Prepared By:       M. Brasfield/A. Denault         Location:            Online - Teams

  Reviewed By:       Denver Water, Olsson            Project #/File #:    Docket SI-20-0003 1041
                                                                          Permit Application for GRE
                     Boulder County Floodplain
                                                                          Project
                     Management Program review
                     pending

 Meeting Summary:
 Boulder County Floodplain Management Program staff met with Denver Water staff and their Consultant,
 Olsson, to discuss Floodplain permitting and activities on site to facilitate a common understanding
 across stakeholders of expectations relating to floodplain mapping requirements and address questions
 raised in Denver Water’s 1041 permit application to the County for the Gross Reservoir Expansion
 Project.

                                                 Attendees
                    Travis Bray – Denver Water                Ron Flax – Boulder County
                   Ashley Denault – Denver Water             Kelly Watson – Boulder County
                     Doug Raitt – Denver Water               Rachel Badger – Denver Water
                    Casey Dick – Denver Water                  Josh Shackelford - Olsson
                 Melissa Brasfield – Denver Water                Deb Ohlinger - Olsson
                                                                  Amy Gabor - Olsson

 Notes:

 Overview of 1041 permit application comments
    • Doug reviewed the comments received in the 1041 permit application agency comments related
        to floodplain management and mapping.
    • Denver Water would like to gain some understanding about the CLOMR process and would also
        like to discuss the permitting requirements for some on site facilities located close to the
        floodplain.

 Review of current maps available
    • Amy discussed the current understanding of the Preliminary FIRM. She noted the effective and
        preliminary analysis used HEC-HMS, HEC-RAS, and MIKE 11.
    • Amy asked if Denver Water would be able to get those preliminary/effective models and
        corresponding reports.
             o Kelly agreed to provide the preliminary/effective models. She also noted the upstream
                part of the map is a part of the CHAMP model and the downstream portion is a part of the
                City of Boulder study from 2007/2010 that was done with the MIKE-11 flood model.
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 Discussion of operational changes and impacts
    • Kelly noted the CHAMP model did include some flood storage and that volumes coming out of the
        spillway would be less than inflows to the reservoir.
    • Kelly asked how much Denver Water is expecting the discharge to change. That will help identify
        those impacts downstream.
             o Amy answered that Denver Water is anticipating additional runoff attenuation as a result
                 of the expansion project.
    • Amy asked if there is a threshold for how far Denver Water will need to go downstream in
        modeling and how far downstream this needs to be tracked down.
             o Kelly answered that the upstream model should be updated, then depending on how well
                 that ties into the MIKE-11 flood model downstream Denver Water will see if they need to
                 investigate that model as well.
             o Amy noted that Olsson is starting the modeling and will work with Boulder County to see
                 if they need to get into those downstream models. She also noted that if there is a need
                 to go into those downstream models, it may be good to meet again to discuss those
                 details.
                      ▪ Kelly agrees with that plan.
    • Amy asked if the hydrology change is only a decrease downstream of the reservoir, is the
        CLOMR required for that reach, or would it either not be included in the CLOMR submittal or
        submitted as a LOMR later depending on the amount of the decrease in water surface elevation.
             o Kelly answered that Denver Water will need to do the CLOMR for the changes upstream.
                 Boulder County would want to see that CLOMR include some downstream modeling so
                 FEMA has a chance to review that modeling and the approach. She added that it makes
                 the LOMR easier, so there would be no disagreement about the approach used.
    • Doug noted that his first impression is that the project will not likely result in increased flood levels
        of the reservoir because of the higher storage capacity.
             o Kelly agreed that this statement made sense for downstream of the reservoir.

 Additional mapping and process clarification
    ▪ Amy asked what the correct flood elevations and maps are.
            o Kelly noted that because this is a preliminary study right now Boulder County does not
                expect it will change through this area. They are currently in a 90-day approval period
                with FEMA. Once completed, this will become part of the effective FIRM which is
                expected next year. The preliminary study is considered best available information.
    ▪ Doug asked about the CLOMR process.
            o Kelly said Denver Water will need to complete the hydrologic and hydraulic modeling,
                and complete the CLOMR package, which includes work maps, annotated FIRM and FIS,
                narrative and MT-2 forms. This will be submitted to Boulder County. The County will sign
                an MT-2 form which is a County concurrence form. This will then be submitted to FEMA
                for review. She noted the review timeline can take a while depending on FEMA staffing
                and availability. It is usually 60-90 days to have FEMA review with comments with a 90-
                day response period. There may be multiple review timeframes. She added that the
                review with FEMA is the longest part of the process.
    ▪ Doug asked about interaction with adjacent property owners. He added that the property owners
        around the reservoir are Denver Water and the USFS. Downstream of the dam the property
        owners include Denver Water and Boulder County. Private property owners are downstream in
        Eldorado Springs area.
            o Kelly answered that if there are revisions downstream, those property owners would have
                to be notified. She added that Boulder County may only require notices for increases in
                the floodplain not decreases.

 On-site facilities and activities
    ▪ Doug discussed the timing of on-site activities. He noted there are areas below the dam that will
         have disturbances or be needed for staging areas. He also noted that County staff said in a
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         previous discussion the County may require permitting for structures or grading work within the
         floodway. For example, the stilling basin at the base of the dam may fall into the Flood
         Development Permit for the dam excavation process. There may be other areas that may touch
         the floodplain maps.
     ▪   Doug asked if there were any first impressions on work and the required permit processes.
             o Kelly explained that looking at where those areas are in relation to the floodplain map will
                  be a good first step. Staging or minor grading in the floodplain would need a Flood
                  Development Permit. She noted that this could be separate from the dam permits if
                  Denver Water needed to get started on that work earlier. If there is a lot of grading
                  impacting the floodplain then that might require modeling.
     ▪   Doug added Denver Water will be developing a key map that identifies areas of impact. Denver
         Water will include areas discussed today on that map and wil bring to Kelly’s attention as well.
             o Kelly agrees with that process.
     ▪   Amy asked if disturbance areas located within the floodplain can be wrapped into the same Flood
         Development Permit.
             o Kelly answered yes, it just depends on timing and if certain elements need to advance
                  earlier.

 Project Schedule
     ▪ Doug reviewed the project schedule developed by Denver Water.
     ▪ Doug asked what Boulder County departments are involved with the grading permits.
            o Ron said the building team takes in those permits, but they are shared with other
                 departments for review.
     ▪ Doug suggested a global pre-application meeting to ensure Denver Water understands what the
         County is looking for.
            o Ron agrees.

 Closing discussion
    ▪ Kelly noted this will go through the CLOMR process but was not sure if Denver Water will be able
        to include the modeling and additional information as a part of the 1041 responses since Olsson
        will get the models this week.
    ▪ She added that having some clarification that downstream flood elevations are not expected to
        increase as a result of the expansion project would be helpful. She noted the County’s main
        concern is the impact to downstream properties.
             o Casey added that Denver Water does not believe the discharges will increase if there is a
                  storm that runs into the full reservoir and over the spillway. He added that this doesn’t
                  include Denver Water’s operational releases which can match the inflows to the reservoir.
                  Because of these operational factors, it is surprising that the preliminary FIS modeling
                  assumed so much flood attenuation through Gross Reservoir.




                                            Major Action Items
                                            Responsible
               Action Item                                                     Completed
                                               Party
                                                            2/10/21: Amy Gabor sent an email request to
                                                            Kelly Watson at Boulder County to obtain the
  Denver Water will make a request                          HEC-HMS model for the upper reach of
  for additional model information from   Melissa Brasfield South Boulder Creek. If Boulder County
  Boulder County                                            does not have the model, she will request
                                                            the model through FEMA.
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                                                       2/9/21: Amy Gabor sent an email request to
                                                       Terri Fead at CWCB to obtain the Mike
                                                       Flood model that was used for the
                                                       downstream, effective reach
                                                       2/8/21: Kelly Watson supplied data, reports,
                                                       and mapping:
                                                        • HEC-RAS models for South Boulder
                                                             Creek upstream of Eldorado Springs
                                                             (SBC_5)
                                                        • CDOT hydrology report
  Boulder County to provide requested
                                        Kelly Watson    • Mike Flood cross sections and
  models and reports to Denver Water
                                                             discharges for South Boulder Creek
                                                             downstream of CHAMP (output, not
                                                             actual model files)
                                                        • The CHAMP shapefiles (labeled as
                                                             “BC Regulated” or “Boulder County”)
                                                        • Effective FEMA FIRM
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Expansion Project –
Floodplain
Management
Feb. 8, 2021
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Safety Moment – Look for Mobile Equipment Blind Spots
A blind spot is the area around a vehicle or piece of
construction equipment that is not visible to operators,
either by direct line-of sight or indirectly by use of
internal and external mirrors.
•   Always try to walk on the driver side of equipment as
    the passenger side has a larger blind spot.
•   Wear high visibility clothing and Personal Protective
    Equipment
•   Many times when workers think they can be seen by
    the operators of heavy equipment they can’t. You
    may be in a blind spot or the operator has been
    driving is a designated travel path for a period of time
    and the only thing that has changed is you!!!!! Make
    eye contact with operators
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Purpose of the Meeting

To facilitate a common understanding across stakeholders of
expectations relating to floodplain mapping requirements.


What we have heard:
• Project location is within the county’s Floodplain Overlay District.
• An Individual Floodplain Development Permit (FDP) is required prior to
  construction.
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                                 Agenda
                                 • Introductions
                                 • Topics:
                                     •    Preliminary FIRM
                                     •    Preliminary FIS
                                     •    On-site activities

                                 • Discussion
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Housekeeping
• Please turn on your cameras.
• We will go topic by topic with time for larger discussion between each…
• But let us know if you have a question:
  •   Drop them in the chat.
  •   Use the “Raise Hand” function.
  •   Jump in!
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Introductions


                                HELLO
                                 my name is
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1041 Permit Application Comments

• The proposed project is located within the county’s Floodplain Overlay
  District. An Individual Floodplain Development Permit (FDP) is required prior
  to construction.
• In addition, because the proposed project would require substantial revisions
  to the Preliminary Flood Insurance Study (FIS) and Flood Insurance Rate
  Maps (FIRMs), a Conditional Letter of Map Revision (CLOMR) must be
  approved by FEMA before an FDP may be issued.
• Upon project completion, a Letter of Map Revision (LOMR) must be approved
  by FEMA to revise the regulatory floodplain.
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Preliminary FIRM
Zone A with Administrative Floodway: HEC-HMS and HEC-RAS models
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Preliminary FIRM
Zone AE – MIKE 11 or CUHP-B, HEC-1, Modified Puls Method? CHAMP HEC-RAS model
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Preliminary FIS


 • Models Used for
   Effective
   Hydrology
 • What is CUHP-B
   HEC-1
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Preliminary FIS

• Peak Flows from
  Preliminary Studies
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On-site activities and facilities

• Early Construction
  required below the dam
  Q2 2022
• Staging areas are
  required adjacent to
  South Boulder Creek
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 Anticipated Schedule
     2020                 2021                          2022                                   2022-2028
 FERC Order           FERC plans                 FERC Order                    • Site mobilization
  received            finalized and               mandates
                        submitted              construction begin              • Dam surface prep, Materials Lab,
                                                                                 early site grading
                                                                               • Site development, road
1041 application    1041 application                                             improvements, temp rec facilities
  submitted to         review and
Boulder County     decision (anticipate                                        • Quarrying operations
                          Aug.)                                                • Dam foundation excavation,
                                                                                 grouting, plant setup

                                                 Receive Boulder               • Dam raise
                     Begin Boulder               County building               • Forestry activities/tree clearing
                     County building             permits (prior to
                     permit process              July 2022 FERC                • First fill
                    (Anticipate Aug.)                deadline)
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Discussion
• Did we answer the questions you had?
• Is there any other feedback you have for us?




Future Discussion Topics:
• Tree Removal and Haul Routes Planning - 2/10/21 at 2 p.m.
